              E-FILED 2023 AUG 24 2:33 PM LUCAS - CLERK OF DISTRICT COURT




                  IN THE IOWA DISTRICT COURT FOR LUCAS COUNTY

 TERRY LEHRMAN,
                                                          CASE NO. LACV033268
                              PLAINTIFF,

                   VS.
                                                                PRAECIPE
 THOMAS J. UTHE, UTHE FARMS, INC.,
 THOMAS E. UTHE, JODIE L. UTHE, AND
 AUSTIN UTHE,

                             DEFENDANTS.


TO:    Clerk of the District Court, Lucas County Courthouse, Chariton, IA 50049:

You are directed to issue a writ of general execution against Uthe Farms, Inc., for the balance
owing on the judgment herein, more particularly described as follows:

 Date of Judgment        November 21, 2022       Balance Due on Judgment           $475,000.00
 Original Amount of                              Balance Due on Court
 Judgment                       $475,000.00      Costs                                $334.50
 Original Amount of
 Court Costs                        $299.50      Balance Due on Atty Fees                 $-0-
 Original Amount of                              Unpaid Interest from
 Attorney Fees                             -     11/21/2022 – 08/24/2023            $23,346.58
 Interest Rate Per
 Annum (statutory
 rate)                               6.50%
 Interest Per Diem                   $84.59      TOTAL                             $498,681.08

Please issue the writ of general execution to the Sheriff of LUCAS County, Iowa.           The
undersigned will deliver Directions to Sheriff to the Lucas County Sheriff for service.

August 24, 2023                                /s/ Brooke S. Jacobs
                                                   Brooke S. Jacobs            (AT0009383)
                                                   Brick Gentry P. C.
                                                   6701 Westown Parkway, Suite 100
                                                   West Des Moines, IA 50266
                                                   Telephone: 515-274-1450
                                                   Facsimile: 515-274-1488
                                                   E-mail: brooke.jacobs@brickgentrylaw.com
                                                   Attorneys for Plaintiff
                           E-FILED         LACV033268 - 2023 AUG 24 02:53 PM                 LUCAS
                                              CLERK OF DISTRICT COURT                        Page 1 of 2

                               IN THE IOWA DISTRICT COURT FOR LUCAS COUNTY

TERRY LEHRMAN
    Plaintiff/Petitioner                                                    Case No. 05591 LACV033268
vs.
                                                                               General Execution
AUSTIN UTHE
THOMAS J UTHE
UTHE FARMS, INC
                                                                             Docket Event Code: EGEN
JODIE L UTHE
THOMAS E UTHE

   Defendant/Respondent

TO THE SHERIFF OF LUCAS COUNTY, IOWA:
YOU ARE HEREBY COMMANDED TO LEVY ON THE FOLLOWING JUDGMENT DEBTOR(S):
Issued against UTHE FARMS, INC. as described in the "Dictation for Execution".
Date of Judgment November 21, 2022                             Balance Due on Judgment $475,000.00
Original Amount of Judgment $475,000.00                        Balance Due on Court Costs $334.50
Original Amount of Costs $299.50                               Balance Due on Attorney Fees $0.00
Original Amount of Attorney Fees $0.00                         Interest Accrued to 08/24/2023
Interest Rate Per Annum 6.50%                                  Total Interest Due $ 23,346.58
Effective From 11/21/2022                                      Interest Per Diem $ 84.59
Pre-judgment Accrued Interest $

Dated: August 24, 2023                                                             /s/ Jennifer Brown
                                                                               Clerk of Court/Designee
                                                                                   LUCAS County




Requested by:
Employers to return funds to the sheriff after 120 days from the date of issuance of this writ.
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                                         CLERK OF DISTRICT COURT              Page 2 of 2


                             IN THE IOWA DISTRICT COURT FOR LUCAS COUNTY


TERRY LEHRMAN                                                  Case No. 05591 LACV033268
  Plaintiff/Petitioner
                                                                  Return of Service of
vs.                                                               General Execution
                                                                 Under Iowa Code 626.12
AUSTIN UTHE
THOMAS J UTHE
UTHE FARMS, INC
                                                                 Docket Event Code: RSEX
JODIE L UTHE
THOMAS E UTHE

      Defendant/Respondent



Execution Issued by Clerk
August 24, 2023

Issued Against

                                                     Amount Collected _______________
Date Served ______________________

Who Served _______________________                   Amount Retained ________________

Where Served ______________________                  Amount to Clerk _________________

Date Received______________________




                                                       Sheriff, ___________________________ County, Iowa


                                                          By _______________________________ Deputy
                                    THE IOWA DISTRICT COURT FOR LUCAS COUNTY


 TERRY LEHRMAN,
                                                                CASE NO. LACV033268
                                         PLAINTIFF,

                         VS.
                                                                 DICTATION TO SHERIFF
 THOMAS J. UTHE, UTHE FARMS, INC.,
 THOMAS E. UTHE, JODIE L. UTHE, AND
 AUSTIN UTHE,

                                         DEFENDANTS.

TO THE SHERIFF OF LUCAS COUNTY, IOWA:

You are directed to levy under a Writ of General Execution in the above-entitled cause on the
following described property:

Any and all property owned by Uthe Farms, Inc. as listed on the attached Exhibit “A located at the
following addresses:

 1101 Auburn Avenue                                    116 E. Albia Road
 Chariton, Iowa                                        Chariton, Iowa

 HyVee Road 34 Bypass                                  1017 Auburn Avenue W
 Chariton, IA 50049                                    Chariton, IA 50049

 500 Cedar Street E.
 Russell, IA 50238

INSTRUCTIONS TO JUDGMENT HOLDER:

        Before any action can be taken by the County Sheriff’s Office, you must indicate by
checking “Yes” if this is a consumer credit transaction or “No” if this is not a consumer credit
transaction.
               Yes:           No: 

        Dated August 25, 2023.

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  IowaDocs®                                                                           Revised January 2019
                                       BRICK GENTRY P.C.

                                       /s/ Brooke S. Jacobs
                                       Brooke S. Jacobs              (AT0009383)
                                       6701 Westown Parkway, Suite 100
                                       West Des Moines, IA 50266
                                       Telephone: 515-274-1450; Facsimile: 515-274-1488
                                       E-mail: brooke.jacobs@brickgentrylaw.com
                                       ATTORNEY FOR Plaintiff




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EXHIBIT "A"
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